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                    SO ORDERED: July 23, 2019.




                             ______________________________
                             Andrea K. McCord
                             United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION

 IN RE:                                                )
                                                       )
 Elizabeth Ingalls                                     )       Case # 18-70065-AKM-7
                                                       )       Chapter 7
                                                       )
                 Debtor(s)                             )

   ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO APPROVE A SHORT
      SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS PURSUANT
                     TO 11 U.S.C. § 363(b), (f), AND (m),

          Stacy Wissel (the “Trustee”), having filed her motion (“Motion”) for entry of an order for

 authority to sell certain real property free and clear of all liens, encumbrances, and interests, and

 notice having issued, and the Court having reviewed motion and it’s attachments, and the response

 in agreement filed by Specialized Loan Servicing, and being duly advised, the Court

          GRANTS the motion; and

          AUTHORIZES the sale of real property located at 1145 BROOKSHIRE DR

          EVANSVILLE, IN 47715 (the “Property”) and legally described as follows:


                                                                                                    1
Case 18-70065-AKM-7A         Doc 74      Filed 07/23/19      EOD 07/23/19 17:28:10          Pg 2 of 2
               The following-described real estate lying and being situated in Vanderburgh County,
               Indiana ("Real Estate"), to-wit:
               Lot One (1) in Brookshire Estates, an Addition to the City of Evansville, as per plat
               thereof, recorded in Plat Book L, page 42 In the office of the Recorder of Vanderburgh
               County, Indiana.

       To be sold to Sheeram, LLC for $143,000.00 ; and


       ORDERS that the proceeds of the sale be distributed as follows: a carve-out for the

Bankruptcy Estate of $7500.00, fees of $5720.00 and $2860.00 to agents (pursuant to separate

order of this Court) , and costs of closing (including a water lien and county taxes) in the amount

of $11,409.90 ; and


       GRANTS other relief as necessary to complete the sale .


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